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AO 440 (Rev. 12/09) Summons in a Civil Action
[




                               UNITED STATES DISTRICT COURT
                                                    for the
                                           Northern District of Texas

          Selina Marie Ramirez, et al                  )
                       Plaintiff                       )
                         v.                            )     Civil Action No. 3:19-cv-01529-L
                                                       )
                                                       )
         City of Arlington, Texas, et al               )
                       Defendant                       )

                                       Summons in a Civil Action

    TO: City of Arlington, Texas


    A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received
    it)-- or 60 days if you are the United States or a United States agency, or an officer or
    employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) --you must serve
    on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
    Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
    plaintiffs attorney, whose name and address are:

        TMalone
        900 Jackson St
        Suite 730
        Dallas , TX 75202

        If you fail to respond, judgment by default will be entered against you for the relief
    demanded in the complaint. You also must file your answer or motion with the court.




                                                                CLERK OF COURT


    DATE: 06/25/2019
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I           -

     Civil Action No. 3:19-cv-01529-L

                                                                 PROOF OF SERVICE
                               (This section should not be filed with the courl unless required by Fed. R. Civ. P. 4 (l))


          Thi,.ummom fo< (nome oFndivldUQJ and title, · ny)
    was received by me on (dme)               F5        ~
                                                                      f'~
                                                                    3:)1
                                                                                     IJt 1\n ~ ;fatlJI
            r       I personally served the summons on the individual at (place) - - - -- - - -- -- - - -- --
           - - - - - - -- - - -- - - - -- - - - --                                            on (date) - - -- -- - - -- - '· or


            r       J left the summons at the individual's residence or usual place of abode with (name) - --              - - - -- - -
           - - - - - - - - -- - -- -- - -- - - · · a person of suitable age and discretion who resides there,
           on (date) - - -- - -- -- - - - - - - - - - ' a nd mailed a copy to the individual's last known address; or


            ~.-ved           tho s=mons on (nom•      ofindMduo~ . .l. l.l. . . : :~~lo..JL.;:::::::J.-4.1'""':-l~=-=-~~J..lol:~~~

            I       I returned the summons unexecuted because
                                                                    - - -- -- -- - - - - - -- - - - ----                                        or


                r   oth~~~cw)       ___ _ _ _ _ _ _ __ _ _ _ _ __ _ __ _ _ _ _ __ _ _ _ ____




          My fees are$ --- ------- -                     for travel and$---- - - - -                  for services, for a total of$ ______


                I declare under penalty of peljury that this information is true.


    Date:] ·)        e

                                                                              \29 fallen BtrK JJt.IAXllaMCbt.tJK
                                                                                                            Server's address         15 \(.D5

     Additional information regarding attempted service, etc:
